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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

UNITED STATES OF AMERICA,                    CR 17-16-GF-BMM

            Plaintiff,

     vs.                                     PRELIMINARY ORDER OF
                                             FORFEITURE
ALVIN AUBREY ROE,

            Defendant.



      THIS MATTER comes before the Court on the United States’ Motion for

Preliminary Order of Forfeiture. Defendant Alvin Aubrey Roe appeared before the

Court on May 23, 2017, and entered a plea of guilty to Count VII of the

Indictment. He also admitted the forfeiture allegation. Roe’s plea provides a

factual basis and cause to issue an Order of Forfeiture, pursuant to 18 U.S.C.

§ 924(d).

      IT IS ORDERED:

      THAT Roe’s interest in the following property is forfeited to the United

States in accordance with 18 U.S.C. § 924(d).

       Marlin, model 36-A, .30-30 Win caliber, lever action rifle, serial number
        15282;



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       Savage Arms Corp., model 5, .22 caliber, bolt action rifle, with no serial
        number;

       Baker Gun & Forging Co., model Bativia Leader, 12 gauge, break action
        shotgun, serial number 91445;

       Remington Arms Company, Inc., model 721, .30-06 caliber, bolt action
        rifle, serial number 252537;

       Harrington & Richardson (H&R), model 532, .32 caliber revolver, with
        serial number BA037337;

       Ruger, model LCP, .380 auto caliber, semi-automatic pistol, serial
        number obliterated;

       Haskell Manufacturing, Inc. (Hi-Point Firearms), model JHP, .45 caliber,
        semi-automatic pistol, serial number X435625; and

       Mossberg, model 500A, 12 gauge, pump action shotgun, with serial
        number K407394.

      THAT the United States Marshals Service and the Bureau of Alcohol,

Tobacco, Firearms and Explosives are directed to seize the property subject to

forfeiture and further to make a return as provided by law;

      THAT the United States will provide written notice to all third parties

asserting a legal interest in any of the above-described property and will post on an

official government internet site (www.forfeiture.gov) for at least 30 consecutive

days as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty

or Maritime Claims and Asset Forfeiture Actions of the Court’s Preliminary Order



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and the United States’ intent to dispose of the property in such manner as the

Attorney General may direct, pursuant to 18 U.S.C. § 924(d) and 21 U.S.C.

§ 853(n)(1), and to make its return to this Court that such action has been

completed; and

      THAT upon adjudication of all third-party interests, if any, the Court will

enter a Preliminary Order of Forfeiture.

      DATED this 24th day of May 2017.




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